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                                              13 YUGA LABS, INC.
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                                              14
                                              15                              UNITED STATES DISTRICT COURT
                                              16                            CENTRAL DISTRICT OF CALIFORNIA
                                              17                              WESTERN DIVISION — Los Angeles
                                              18
                                              19 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
                                              20                      Plaintiff,              PLAINTIFF YUGA LABS, INC.’S
                                                                                              SUBMISSION TO THE SPECIAL
                                              21           v.                                 MASTER RE ATTORNEYS’ FEES
                                                                                              AND COSTS
                                              22 RYDER RIPPS, JEREMY CAHEN,
                                              23                      Defendants.
                                              24
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                                                    RE ATTORNEYS’ FEES AND COSTS
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                                                1           Pursuant to the Special Master’s December 15, 2023 Order (Dkt. 442),
                                                2 Plaintiff Yuga Labs, Inc. respectfully submits its additional positions and evidence
                                                3 to augment the record regarding its entitlement to an award of “reasonable
                                                4 attorneys’ fees, expert fees, and taxable and non-taxable costs” (collectively, “fees
                                                5 and expenses”) (see Dkt. 440), pursuant 15 U.S.C. § 1117(a) (Lanham Act) and 15
                                                6 U.S.C. § 505 (Copyright Act). Dkt. 431 at 27. This submission is supported by the
                                                7 concurrently filed Declaration of Eric Ball (“Ball Decl.”).
                                                8           As set forth in the parties’ Joint Statement (Dkt. 435) and this brief, an award
                                                9 of $13,202,111.91 is reasonable. That award consists of $12,697,150.22 in
                                              10 attorneys’ fees, $409,322.69 in costs, and $95,639.00 in expert witness fees. As the
                                              11 Ninth Circuit recognizes, “[b]y and large, the court should defer to the winning
                                              12 lawyer’s professional judgment as to how much time he was required to spend on
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                                              13 the case; after all, he won, and might not have, had he been more of a slacker.”
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                                              14 Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008).
                                              15            Nevertheless, Yuga Labs offered Defendants a compromise award of
                                              16 $7,500,000.00 in attorneys’ fees only for the purpose of preserving the resources
                                              17 required to undertake an analysis of records and to address the Court’s concern
                                              18 about making a second litigation out of the award. That offer credited, in full, every
                                              19 objection Defendants made in the Joint Statement. Consistent with Defendants’
                                              20 repeated refusal to compromise in this litigation, they rejected that offer. Since
                                              21 Defendants have not materially deviated from their unreasonable positions, thus
                                              22 necessitating this review, and because the record supports the reasonableness of
                                              23 Yuga Labs’ fees and expenses, Yuga Labs seeks to recover the full fees and
                                              24 expenses it incurred achieving its unqualified victory in this litigation. Defendants’
                                                                                                                           1


                                              25 “remaining objections” (Dkt. 440 at 1) have no merit and should be rejected.
                                              26
                                                   Yuga Labs expressly preserves its responses to Defendants’ objections as briefed
                                                    1
                                              27 in its portion of the Joint Statement. Dkt. 435. Yuga Labs objects to and reserves
                                                 its right to respond to any new objections lodged by Defendants. Dkt. 441. The
                                              28 Court’s order limits the remaining issues to be determined to “the disputes set forth

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                                                1                                         INTRODUCTION
                                                2           This case involves attempts by Defendants Ryder Ripps and Jeremy Cahen
                                                3 (“Defendants”) to profit off the goodwill of Yuga Labs’ Bored Ape Yacht Club
                                                4 (“BAYC”) brand with scams targeting new technologies (non-fungible tokens or
                                                5 “NFTs”). Defendants persisted with their scam for more than a year and a half,
                                                6 including throughout the litigation, which caused irreparable harm to Yuga Labs’
                                                7 BAYC brand and confused consumers. Given Defendants’ bad faith and
                                                8 exceptional conduct, the Court awarded Yuga Labs its attorneys’ fees and costs.
                                                9           Yuga Labs’ overwhelming success in this lawsuit is undeniable. Yuga Labs
                                              10 received every remedy it sought at trial, including disgorgement of all of
                                              11 Defendants’ profits and the maximum statutory damages. It also received the most
                                              12 important remedy in a brand-protection case such as this — a comprehensive
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                                              13 injunction that prevents Defendants from further harming Yuga Labs’ tentpole
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                                              14 BAYC Brand and allows Yuga Labs to take control of the means of harming that
                                              15 brand (i.e., the domains, social media accounts, and smart contract created by
                                              16 Defendants that all use the BAYC Marks). While the value of that injunction is
                                              17 unquantifiable, it is the absolute best means of remedying the irreparable harm
                                              18 Defendants caused to the core brand around which Yuga Labs built its multi-
                                              19 billion-dollar business. The value of the injunction is especially true given
                                              20 Defendants’ use of novel technology to try to make the infringement immutable and
                                              21 permanent. Notwithstanding Yuga Labs’ total victory, Defendants objected to
                                              22
                                                 in the Parties’ Joint Statement (Dkt. 435)” and “remaining objections to Yuga Labs’
                                              23 fees and costs requests.” Dkt. 440 at 1-2.
                                              24 By failing to raise any specific objections in the Joint Statement, Defendants
                                                 waived their right to raise them later. Yuga Labs is, however, prepared to provide
                                              25 substantive responses on the December 29th deadline should Defendants raise anew
                                                 previously waived objections. See Dkt. 437 (“Additionally, Defendants have
                                              26 completely failed to comply with the Court’s order regarding the preparation of the
                                                 Joint Statement, which specifically stated that the Joint Statement must include a
                                              27 description of each specific item in dispute between the parties.”) (internal
                                                 quotations omitted). Should the Special Master deem it helpful, Yuga Labs will file
                                              28 such responses in a form that the Special Master requests.

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                                                1 nearly every dollar that Yuga Labs spent protecting its central brand (by analogy,
                                                2 protecting its Mickey Mouse or Nike Swoosh logo).
                                                3           This case could and should have been much simpler had Defendants heeded
                                                4 the Court’s orders. Defendants received many warning signs from the Court that
                                                5 their litigation position was unreasonable. But their continued refusal to follow the
                                                6 Court’s orders and accept the reality of their litigation position significantly and
                                                7 continuously increased the expense of this case and is one of the reasons the Court
                                                8 found this case exceptional. Dkt. 431 at 26 (“Defendants continued to advance
                                                9 multiple legal theories — that the RR/BAYC NFT collection was ‘art’ intended to
                                              10 criticize Yuga, that Yuga had abandoned its rights to the BAYC Marks, and that
                                              11 Yuga could not assert its rights in the BAYC Marks due to its ‘unclean hands’ —
                                              12 despite the Court repeatedly ruling otherwise in its December 16, 2022 Order,
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                                              13 March 17, 2023 Order, and April 21, 2023 Order.”). Defendants cannot use their
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                                              14 obstructive tactics, which made this litigation (and resolution of Yuga Labs’ fee
                                              15 request) so expensive, as a shield to now bar Yuga Labs’ recovery of its reasonable
                                              16 fees spent responding to those tactics and ultimately obtaining a complete victory.
                                              17            Before its victory, Yuga Labs repeatedly sought to resolve this case
                                              18 efficiently. For example, Yuga Labs heeded the Court’s recommendation to drop
                                              19 the false advertising claim because of the redundancy of available remedies and to
                                              20 streamline the case for trial. Ball Decl. ¶ 49. Likewise, Yuga Labs sought to
                                              21 resolve the dispute over fees and costs by offering a true compromise — an amount
                                              22 far less than what it was entitled but which accounted for each of Defendants’
                                              23 objections notwithstanding their lack of merit. That compromise should have
                                              24 obviated the need for any further work by the Court. Dkt. 435. Instead, Defendants
                                              25 seek to further protract this litigation and delay taking responsibility for their
                                              26 conduct by doing precisely what the Court admonished against: turning Yuga Labs’
                                              27 right to attorneys’ fees and costs into a “second major litigation.” Dkt. 431 at 27.
                                              28

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                                                1           Defendants pursued their litigation strategy with their eyes wide open about
                                                2 the costs and risks to them because even before trial, the Court warned Defendants
                                                3 that they should be prepared to pay no less than $5 million of Yuga Labs’
                                                4 attorneys’ fees:
                                                5           [I]f there’s an exceptional case determination and we’re talking about
                                                            north of $5 million in attorney’s fees, I don’t think — I don’t know, but
                                                6           I hope your client in his artistic endeavors makes a lot of money so he
                                                            can write a check for $5 million. . . . [I]t seems to me that this is an
                                                7           appropriate time to come to some resolution of these issues because a
                                                            trial is going to do nothing but add to the attorney’s fees that if I make
                                                8           that determination, that your clients are ultimately going to be —
                                                            ultimately going to be responsible for.
                                                9
                                               10 June 9, 2023 Pre-Trial Conference Tr. (Dkt. 318) at 46:14-47:6. And yet, in usual
                                               11 fashion and despite the Court’s warning, Defendants offered no meaningful
                                               12 compromise. Defendants’ refusal to be reasonable or to work toward an efficient
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                                               13 resolution is symptomatic of their approach to this case, i.e., their “repeated
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                                               14 attempts to re-litigate issues already addressed and rejected by the Court,” which
                                               15 “unnecessarily complicated this litigation.” Dkt. 431 at 26. At bottom, any
                                               16 reduction to Yuga Labs’ reasonable attorneys’ fees will reward Defendants’
                                               17 willfully obstructive behavior.
                                               18           Yuga Labs’ fees are reasonable and represent a sound lodestar figure based
                                               19 on reasonable rates and hours spent on a successful litigation. Similarly, Yuga
                                               20 Labs’ taxable and non-taxable costs were incurred in successfully prosecuting this
                                               21 litigation, are reasonable, and should be ordered paid by Defendants. Finally,
                                               22 Defendants did not dispute the reasonable fees Yuga Labs’ experts incurred
                                               23 preparing for and sitting for their depositions, and those fees are recoverable.
                                               24                                             BACKGROUND
                                               25 I.        Yuga Labs Sues Defendants to Protects Its Core Brand
                                               26           Yuga Labs is the creator behind one of the world’s most well-known and
                                               27 successful NFT collections: BAYC or the Bored Ape Yacht Club. Dkt. 225
                                               28 (Summary Judgment Order) at 1. Only 10,000 unique BAYC NFTs exist, and they

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                                                1 are among the most sought after NFTs. Id. at 1-2. In response to BAYC’s
                                                2 popularity, Defendants launched a business venture to scam consumers into
                                                3 purchasing their “RR/BAYC” NFTs by using the very same trademarks that Yuga
                                                4 Labs uses to identify the company and market the BAYC brand. Id. at 3.
                                                5 Defendants explicitly and intentionally mislead consumers into thinking that their
                                                6 scam NFTs are affiliated, sponsored, or associated with Yuga Labs. Id. at 10-13.
                                                7 They also used the BAYC Marks to promote their NFT marketplace, thus further
                                                8 suggesting affiliation, sponsorship, or association with Yuga Labs. Id. at 19.
                                                9 Defendants’ communications, and the admissions of one of their co-conspirators,
                                               10 showed that (1) the purpose of promoting and selling their scam NFTs was to profit
                                               11 off of Yuga Labs’ BAYC brand, and (2) Defendants knew that consumers would be
                                               12 confused into thinking they were purchasing an authentic BAYC NFT.
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                                               13           Yuga Labs sued Defendants on June 24, 2022 to end Defendants’ scam and
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                                               14 infringement of Yuga Labs’ core brand, BAYC or the Bored Ape Yacht Club.
                                               15 II.       Defendants Multiply the Litigation
                                               16           Defendants have only themselves to blame for the cost of this litigation. As
                                               17 the Court held and as further demonstrated herein, Defendants multiplied the
                                               18 litigation by re-litigating issues and being obstructive throughout the litigation.
                                               19 They also refused to negotiate disputes in good faith, such as this one or the
                                               20 litigation itself. For example, more than once, Defendants’ settlement demand to
                                               21 Yuga Labs was to make the Defendants “whole” for the cost of the litigation — no
                                               22 matter how weak their litigation position was. Ball Decl. ¶ 48. Indeed,
                                               23 immediately after the Court entered its order granting Yuga Labs’ motion for
                                               24 summary judgment, rather than proposing a settlement addressing their
                                               25 infringement with an injunction and compromise monetary payment, Defendants
                                               26 again demanded that Yuga Labs — the party who just won summary judgment —
                                               27 pay Defendants millions. Id. And, even after Defendants complained that Yuga
                                               28 Labs had sought a reasonable non-disparagement clause during negotiations and

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                                                1 Yuga Labs dropped that request in response, Defendants still refused to
                                                2 compromise their position. Id. Tweets by Defendants demonstrate they knew this
                                                                            2


                                                3 litigation was expensive for Yuga Labs, yet they took the risk of choosing not to
                                                                                         3


                                                4 resolve it on reasonable terms with eyes wide open.
                                                5 III.      The Court’s Exceptional Case Finding and Award of Attorneys’ Fees
                                                6           Defendants wanted their scam to ruin Yuga Labs’ business. As Judge Walter
                                                7 explained, Defendants used the litigation as a platform to “unnecessarily and
                                                8 inappropriately ma[k]e disgraceful and slanderous statements about Yuga, its
                                                9 founders, and its counsel during litigation . . . .” Dkt. 431 at 26. And Defendants’
                                               10 self-serving and contradictory testimony led the Court to hold that it “does not find
                                               11 their testimony credible.” Id. at 14-15, n.10.
                                               12           Following the Court’s December 16, 2022 Order rejecting their Rogers, First
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                                               13 Amendment, and fair use defenses, Dkt. 62, Defendants raised their rejected theories
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                                               14 in no fewer than a dozen filings with the Court. Ball Decl. ¶ 45. And because
                                               15 Defendants raised their rejected theories in every single deposition they took or
                                               16 defended, Yuga Labs was forced to spend significant time and resources to prepare
                                               17 to respond to questions accusing them of being Nazis even though Judge Walter had
                                               18 ruled against Defendants. Ball Decl. ¶ 37. Again, at trial, despite Defendants’
                                               19 assurances to the Court at the pre-trial conference that it would be inappropriate “if
                                               20 anybody starts talking about – ranting about how everybody at Yuga are a bunch of
                                               21 Nazis”, Defendants still questioned Yuga Labs’ witnesses and offered their own
                                               22 “clearly inappropriate” testimony about racism and Nazism. June 9, 2023 Pre-Trial
                                               23 Conference Tr. (Dkt. 318) 61:10-12. Thus, having seen Defendants flout the Court’s
                                               24
                                                  2
                                                    Defendants have argued that the non-disparagement clause is evidence that Yuga
                                               25 Labs  filed the lawsuit to silence them. Not so. They are typical in settlements, and
                                               26 the  ask  was particularly reasonable here given, as acknowledged by the Court,
                                                  Defendants’ history of making personal, targeted, heinous claims, and because
                                               27 Defendants    were otherwise balking at paying any money in settlement.
                                                  3
                                                    See, e.g., Ball Decl. Ex. 9 at 1 (Defendant Cahen acknowledging that his litigation
                                               28 tactics caused Yuga Labs $20 million in harm).

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                                                1 admonishments several times before, Yuga Labs rightly prepared its witnesses to
                                                2 respond to these irrelevant questions. To state the obvious, it is more complicated to
                                                3 prepare a witness to testify at a trial on trademark remedies when that witness knows
                                                4 they will be falsely accused of being a Nazi and then asked questions attempting to
                                                5 destroy their entire business.
                                                6           In sum, “Defendants continued to advance multiple legal theories — that the
                                                7 RR/BAYC NFT collection was “art” intended to criticize Yuga, that Yuga had
                                                8 abandoned its rights to the BAYC Marks, and that Yuga could not assert its rights
                                                9 in the BAYC Marks due to its ‘unclean hands’ — despite the Court repeatedly
                                               10 ruling otherwise in its December 16, 2022 Order, March 17, 2023 Order, and April
                                               11 21, 2023 Order. Defendants’ repeated attempts to re-litigate issues already
                                               12 addressed and rejected by the Court unnecessarily complicated this litigation and
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                                               13 supports the Court’s conclusion that this is an exceptional case.” Dkt. 431 at 26.
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                                               14 Yet, despite Defendants’ best efforts to hinder, delay and derail these proceedings,
                                               15 Yuga Labs prevailed at every stage of the case and obtained every remedy it
                                               16 sought at trial. This success is attributable to the considerable efforts of the
                                               17 Fenwick team despite Defendants’ best efforts to distract the Court and parties from
                                               18 the relevant issues. Defendants’ exceptional litigation misconduct caused this case
                                               19 to require significant and multiplicative legal work; it is just, and required under the
                                               20 Lanham Act, that they take responsibility for that bill.
                                               21                                       LEGAL STANDARD
                                               22           District courts use the lodestar method to determine the reasonableness of
                                               23 attorneys’ fees. See Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir.
                                               24 2008). According to the lodestar method, “reasonable rates multiplied by
                                               25 reasonable hours expended” results in a figure that is “presumptively reasonable.”
                                               26 Apple, Inc. v. Samsung Elec. Co., Ltd., No. 11-cv-1846, 2012 WL 5451411, at *3
                                               27 (N.D. Cal. Nov. 7, 2012); see also Kelly v. Wengler, 822 F.3d 1085, 1099 (9th Cir.
                                               28 2016) (the output of a lodestar calculation is “a presumptively reasonable fee”).

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                                                1 “[A]ctual billing rates provide a reasonable basis for the lodestar analysis.” ICU
                                                2 Med., Inc. v. Alaris Med. Sys., Inc., No. 04-00689, 2007 WL 6137002, at *3 (C.D.
                                                3 Cal. June 28, 2007). While the lodestar figure may be adjusted, courts “treat the
                                                4 lodestar figure as presumptively reasonable and adjust it only in rare or exceptional
                                                5 cases.” Cunningham v. Cnty. of Los Angeles, 879 F.2d 481, 488 (9th Cir. 1989).
                                                6 The factors courts look to in deciding whether to adjust the lodestar figure are:
                                                7       (1) the time and labor required, (2) the novelty and difficulty of the
                                                        questions involved, (3) the skill requisite to perform the legal service
                                                8       properly, (4) the preclusion of other employment by the attorney due to
                                                        acceptance of the case, (5) the customary fee, (6) whether the fee is fixed
                                                9       or contingent, (7) time limitations imposed by the client or the
                                                        circumstances, (8) the amount involved and the results obtained, (9) the
                                               10       experience, reputation, and ability of the attorneys, (10) the
                                                        ‘undesirability’ of the case, (11) the nature and length of the professional
                                               11       relationship with the client, and (12) awards in similar cases.

                                               12 Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975). Here, Yuga
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                                               13 Labs’ actual billing rates align with industry norms, and the hours expended in this
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                                               14 case are reasonable in light of Defendants’ pervasive efforts to multiply the
                                               15 litigation, the novelty of the issues, and Yuga Labs’ overwhelming success.
                                               16                                             ARGUMENT
                                               17 I.        Defendants Waived Any Objection to Fenwick’s Reasonable Rates
                                               18           Defendants did not object to Fenwick’s rates because they know those rates
                                               19 are reasonable. See Ball Decl. ¶ 22; Dkt. 435 at 8. Indeed, they could not
                                               20 reasonably object given the even-higher rates their own counsel billed them in this
                                               21 litigation. See Dkt. 220-4 (billing $1060.00 per hour for a then-fifth-year
                                               22 associate). Nonetheless, to supplement the record for avoidance of doubt, Yuga
                                               23 Labs provides evidence and argument supporting the reasonableness of its rates.
                                               24           A reasonable hourly rate should reflect the prevailing market rates of
                                               25 attorneys practicing in the forum community for similar services by lawyers of
                                               26 reasonably comparable skill, experience, and reputation. Blum v. Stenson, 465 U.S.
                                               27 886, 895–96 n.11 (1984). Fenwick is a top-ranked firm for intellectual property
                                               28 litigation. Ball Decl. ¶ 23. Nonetheless, the rates of Fenwick’s attorneys are below

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                                                1 market for peer firms in Los Angeles. Ball Decl. Ex. 5. And rates comparable to
                                                2 those charged by Fenwick have been recognized as reasonable in this and other
                                                3 jurisdictions. Ball Decl. ¶ 24(a). Not surprisingly then, multiple California federal
                                                4 courts have found Fenwick’s rates to be reasonable for other IP cases of similar
                                                5 complexity to this proceeding. See Ball Decl. ¶ 24(b). And the Fenwick attorneys
                                                6 involved in this case have developed expertise in NFT trademark litigation — a new
                                                7 and unique area of law. This area of law is specialized and frequently deals with
                                                8 cutting edge legal issues of first impression. Fenwick’s individual attorneys are
                                                9 uniquely qualified to argue the issues in this case. Ball Decl. ¶¶ 6-16. Fenwick
                                               10 attorneys also represented Yuga Labs in another matter and achieved a positive
                                               11 outcome. See Armijo v. Ozone Networks, Inc. et al., 3:22-cv-00112-MMD-CLB (D.
                                               12 Nev. 2023).
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                                               13           Fenwick’s proven results demonstrate that the team and billing rates were
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                                               14 worth the cost for Yuga Labs and that Fenwick’s rates are reasonable for this
                                               15 litigation. The Special Master should approve the reasonable rates of Yuga Labs’
                                               16 attorneys in light of the attorneys’ specialized skill, experience, and reputation in IP
                                               17 litigation related to NFTs and this case in particular.
                                               18 II.       The Time Fenwick Spent Was Reasonable for this Litigation
                                               19           The Lanham Act does not cap attorneys’ fees based on the monetary
                                               20 component of remedies obtained. See 15 U.S.C. § 1117(a). There is no evidence
                                               21 that Congress intended “that attorney’s fees be proportionate to the amount of
                                               22 damages” a victorious plaintiff is awarded. City of Riverside v. Rivera, 477 U.S.
                                               23 561, 562-63 (1986); see also Tamko Roofing Products, Inc. v. Ideal Roofing Co.,
                                               24 Ltd., 282 F.3d 23, 34 (1st Cir. 2002) (“The cost of enforcing [trademark] rights may
                                               25 well be larger than the lost profits in any particular case.”). Moreover, the value of
                                               26 a trademark plaintiff’s permanent “injunctive relief is not easily monetized” but
                                               27 “there is no doubt that” injunctive relief can constitute a significant recovery,
                                               28 particularly where, as here, it was the primary form of relief the plaintiff sought.

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                                                1 SAS v. Sawabeh Info. Servs. Co., No. CV 11–04147, 2015 WL 12763541, at * 35
                                                2 (C.D. Cal. June 22, 2015) (Morrow, J.)
                                                3           A.      The Amount of Work Fenwick Performed Was Reasonable
                                                4                   1.     Fenwick Already Applied Significant Discounts
                                                5           Yuga Labs’ fees request already accounts for substantial deductions made by
                                                6 Fenwick intended to streamline the review process and reduce disputes over what
                                                7 entries are reasonable. While the total amount spent by Yuga Labs’ would be
                                                8 reasonable regardless, Yuga Labs’ requested fees have therefore already been
                                                9 reduced to reach an even more reasonable total. Fenwick’s billing records
                                               10 submitted to Defendants and the Special Master:
                                               11           • Exclude attorneys who worked on the case but were not part of the “core”
                                               12                trial team, even though Yuga Labs paid for those attorneys’ time. Ball
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                                               13                Decl. ¶ 18.
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                                               14           • Reflect numerous write-offs of attorney time from core team members for
                                               15                time that was worked on this case. Ball Decl. ¶ 19.
                                               16           • Reflect volume discounts given to Yuga Labs. Ball Decl. ¶ 32.
                                               17           • Do not include certain individual time entries that were billed to Yuga
                                               18                Labs but, in the judgment of counsel, omitted to render the fee request
                                               19                reasonable and focused on the core issues of the case. Ball Decl. ¶ 19.
                                               20           Additionally, Yuga Labs is not seeking fees for nearly 18 months of
                                               21 extensive work performed by its three in-house counsel, who assisted in the
                                               22 preparation for depositions to ensure that Yuga Labs’ witnesses were adequately
                                               23 prepared to give honest and complete answers, among many other strategic tasks.
                                               24 See Baker & Hostetler LLP v. Dep’t of Commerce, 473 F.3d 312, 326 (D.C. Cir.
                                               25 2006) (prevailing party may recover in-house counsel fees under fee-shifting
                                               26 statutes); Ball Decl. ¶ 37.
                                               27           These adjustments support a finding of reasonableness.
                                               28

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                                                1                  2.      Yuga Labs’ Efforts Were Reasonable in Light of
                                                                           Defendants’ Actions
                                                2
                                                3           The Court found this case to be exceptional because of, among other reasons,
                                                4 “the strength of Yuga’s litigating position” and because Defendants continually and
                                                5 baselessly advanced “multiple legal theories” that had already been rejected by the
                                                6 Court, which ran the gamut from securities to copyright to tort to invalidity to
                                                7 defamation. Dkt. 431 at 26; Ball Decl. ¶ 45. Defendants did all they could to make
                                                8 this anything but a simple Lanham Act case. Even still, the first significant order in
                                                9 this case was the Court’s denial of Defendants’ anti-SLAPP motion and motion to
                                               10 dismiss (Dkt. 62), which established that Defendants’ core First Amendment defense
                                               11 and inflammatory theories had no bearing on this trademark litigation. But,
                                               12 Defendants pursued those theories through the trial, re-raising them many times
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                                               13 along the way.
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                                               14           After Defendants lost their motion to strike and dismiss, they persisted with
                                               15 the same theories on a motion to compel, which they also lost. Dkt. 87 at 1 (“The
                                               16 Court agrees with Yuga that the above discovery requests are moot, irrelevant and
                                               17 not proportionate to the needs of the case in view of the District Court’s
                                               18 December 16, 2022 ruling. (Dkt. 62.)” After Defendants lost that motion, they
                                               19 pursued the same theories again, but dressed up in a motion to stay. Dkt. 118.
                                               20 They lost again. Dkt. 178. They also failed to defeat Yuga Labs’ motion to strike
                                                                            4


                                               21 three of their counterclaims based on these same failed theories. Dkt. 156.
                                               22 Undeterred by yet more losses based on these same failed theories, Defendants
                                               23 once again raised their failed theories in opposing Yuga Labs’ motion for
                                               24 summary judgment. Dkt. 163. Once again, Defendants lost on those same theories.
                                               25 Dkt. 225. Still refusing to acknowledge the reality of the Court’s findings,
                                               26
                                                    In addition to again rejecting Defendants’ theories (Dkt. 178 at 6), the Court denied
                                                    4
                                               27 the stay in part because “Defendants are still actively promoting their RR/BAYC
                                                  NFTs, receiving royalties from the secondary sales of their RR/BAYC NFTs, and
                                               28 leveraging this litigation to promote and market those sales.” Dkt. 178 at 4.

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                                                1 Defendants nevertheless forced a trial on these same issues. See e.g. Dkts. 344,
                                                2 345, and 346. Yuga Labs won every major order in the case, and Defendants still
                                                3 refused to adjust course.
                                                4           This overview omits the countless and persistent additional ways in which
                                                5 Defendants raised and re-raised these issues in meet and confers, in discovery
                                                6 responses, at depositions, at settlement discussions, in pre-trial filings, and
                                                7 elsewhere. Not surprisingly then, this case was exceptional — and expensive —
                                                8 because of “Defendants’ repeated attempts to re-litigate issues already addressed and
                                                9 rejected by the Court” which “unnecessarily complicated this litigation.” Dkt. 431
                                               10 at 26. This also meant that Fenwick attorneys were required to constantly fight a
                                               11 multi-front battle of Defendants attacking on every possible ground, updating
                                               12 research and fact development to respond each time to those arguments in new
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                                               13 motions and under different procedural contexts.
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                                               14           Defendants also abused this litigation to farm engagement on social media in
                                               15 ways that directly impacted the litigation itself, which required even more work by
                                               16 Fenwick attorneys. For example, Defendants violated the Court’s protective order
                                               17 by publicly filing Highly Confidential – Attorneys’ Eyes Only materials on the
                                               18 docket, and then immediately disseminating that material directly to media outlets.
                                               19 Defendants made a $10,000 payment in lieu of further sanctions. Dkt. 194.
                                               20 Nonetheless, this generated significant work for Yuga Labs in the form of additional
                                               21 filings, investigating and controlling the damage of the disclosure, responding to
                                               22 media inquiries, and engaging in meet and confer efforts to rectify Defendants’
                                               23 violation of the Court’s orders.
                                               24           The expensive price tag of pursuing this litigation to a victory, while also
                                               25 responding to attacks on the reputation and business model of the company,
                                               26 witnesses, and counsel, was a natural consequence of the defense’s decisions to
                                               27 repeatedly try every fringe theory, ranging across securities fraud, false advertising,
                                               28 First Amendment, fair use, fraud, licensing, invalidity, copyright, defamation, and

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                                                1 more. A litigant “cannot litigate tenaciously and then be heard to complain about
                                                2 the time necessarily spent by the [adversary] in response.” Cataphora Inc. v.
                                                3 Parker, 848 F. Supp. 2d 1064, 1070 (N.D. Cal. 2012) (citation omitted).
                                                4 Defendants should not be heard to argue that the fees in this litigation are high
                                                5 when they are the ones who caused the case to be both exceptional and expensive.
                                                6           B.     Fenwick Obtained a Resounding Win for Yuga Labs
                                                7           Given Yuga Labs’ “resounding victory, it is appropriate for the Court to
                                                8 ‘defer to the winning lawyer’s professional judgment as to how much time he was
                                                9 required to spend on the case; after all, he won[.]’” Monster Energy Co. v. Vital
                                               10 Pharms., Inc., No. 18-cv-1882-JGB-SHKX, 2023 WL 8168854, at *22 (C.D. Cal.
                                               11 Oct. 6, 2023) (alteration in original) (awarding $20,972,953.90 in attorneys’ fees in
                                               12 a case involving the Lanham Act) (quoting Moreno, 534 F.3d at 1112). This case
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                                               13 was a necessary signal to the nascent industry and potential infringers that
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                                               14 infringement will not be tolerated in the NFT space and infringers will be held to
                                               15 account for their actions. Thus, the win benefited Yuga Labs as well as the public
                                               16 more generally. Additionally, the fact that this case culminated in a one-day bench
                                               17 trial on remedies is indicative only of the sweeping success that Yuga Labs
                                               18 achieved to get there. Yuga Labs proved its case on summary judgment and was
                                               19 thus able to narrow the scope of the case to its desired remedies — all of which it
                                               20 obtained. See Dkt. 225 (granting Yuga Labs summary judgment on all claims
                                               21 submitted). And Yuga Labs’ decision to drop its false advertising claim at the
                                               22 Court’s suggestion does not warrant a reduction in fees. See Hensley v. Eckerhart,
                                                                                                          5


                                               23 461 U.S. 424, 434-35 (1983). Yuga Labs is entitled to all fees incurred in securing
                                               24 its resounding victory.
                                               25           As important as the full disgorgement and statutory damages awards were
                                               26 to stop Defendants from benefiting from their infringement, the hard-earned
                                               27
                                                   Even so, Yuga Labs’ fees specific to its false advertising claim total
                                                    5
                                               28 approximately $236,000. Ball Decl. ¶ 49.

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                                                1 permanent injunction is invaluable. “Injunctive relief is the remedy of choice for
                                                                                     6


                                                2 trademark . . . cases, since there is no adequate remedy at law for the injury caused
                                                3 by a defendant’s continuing infringement.” Century 21 Real Estate Corp. v.
                                                4 Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1988). And here, Yuga Labs was not only
                                                5 granted the injunction it requested, but was granted novel injunctive relief through
                                                6 the transfer of the RR/BAYC smart contract, thus ending the otherwise immutable
                                                7 association between Defendants and Yuga Labs. As far as Yuga Labs is aware, it is
                                                8 the first company to prove an entitlement to transfer of the infringing smart contract
                                                9 to remedy trademark infringement. Ball Decl. ¶ 47.
                                               10           This injunctive relief was also especially important here, since the marks
                                               11 Defendants stole are crucial to Yuga Labs’ brand and identity. See Trial Tr.
                                               12 (Dkt. 393) 95:17-96:15 (Ms. Muniz comparing Bored Ape Yacht Club brand to
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                                               13 Disney’s “Mickey.”). This loss of control had tangible consequences — including
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                                               14 harming Yuga Labs’ ability to secure third-party partnerships because of the
                                               15 infringement. Id. at 97:9-99:7. As demonstrated throughout the record, absent the
                                               16 comprehensive injunctive relief Yuga Labs obtained, Yuga Labs would be
                                               17 irreparably harmed by Defendants’ theft of control over its tentpole brand. Id. at
                                               18 100:12-14 (“But more than anything, we need to control our brand. We need to
                                               19 have our brand back.”). This is the kind of remedy that cannot be quantified in
                                               20 dollars and cents — but a better result is inconceivable.
                                               21
                                               22
                                               23
                                               24
                                               25   Defendants at times have mischaracterized a $797 million figure cited by Yuga
                                                    6

                                                  Labs’ expert, Lauren Kindler, to misleadingly argue Yuga Labs sought (and failed to
                                               26 obtain) this amount in damages. In reality, this figure represented an economic
                                                  “ceiling” estimate for the cost to undo Defendants’ harm by buying back all of
                                               27 Defendants’ infringing NFTs from the market. This enormous price tag supported
                                                  Ms. Kindler’s finding that Defendants’ infringement caused irreparable harm and
                                               28 injunctive relief was warranted. See Trial Tr. (Dkt 393) at 184:21-185:3.

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                                                1           C.     This Case Presented Novel Legal and Factual Issues that Required
                                                                   Counsel Familiar with the Client, Law, and Technology at Issue
                                                2
                                                3           Though Defendants’ liability in this case was plain, stopping their
                                                4 infringement involved significant and precedent-setting legal questions central to
                                                5 Yuga Labs’ tentpole brand and the burgeoning landscape of intellectual property in
                                                6 the field of NFTs. These issues were critically important to Yuga Labs as an
                                                7 industry leader and necessary for Yuga Labs to vigorously protect its brand in such
                                                8 an important legal dispute against bad actors who would stop at nothing to harm the
                                                9 company. So, while Defendants’ infringement was straightforward, fashioning a
                                               10 remedy to end the detrimental association between Defendants’ and Yuga Labs
                                               11 posed unique challenges. Litigation around NFTs is inherently novel. While there
                                               12 has been some litigation around trademark rights as they apply to NFTs, this was a
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                                               13 case of first impression in that it involved a direct copy of Yuga Labs’ marks and
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                                               14 products, which resulted in novel injunctive relief. Ball Decl. ¶ 47. The novelty of
                                               15 the legal and factual questions in this case required constant efforts to maintain
                                               16 currency of law and understand the landscape and intricacies of the industry.
                                               17 Fenwick — as a leading law firm in the technology space — had unmatched
                                               18 experience with blockchain and NFT clients, and there is likely no firm in the
                                               19 country with experience that parallels Fenwick’s. Ball Decl. ¶ 4.
                                                                                                                    7


                                               20 III.      Defendants’ Objections to Yuga Labs’ Fees and Costs Lack Merit
                                               21           A.     Defendants’ Objections Are Frivolous
                                               22           As set forth in the Joint Statement (Dkt. 435), Defendants’ blanket objections
                                               23 have no merit. These objections are only vague generalities, because (as the Court
                                               24 held) Defendants “completely failed to comply with the Court’s order regarding the
                                               25
                                                   In addition, while this case was being litigated, the Supreme Court was considering
                                                    7

                                               26 and  ultimately ruled on the Rogers defense in the matter of Jack Daniels Properties,
                                                  Inc. v. VIP Products LLC, 599 U.S. 140 (2023). Thus, while the Rogers defense itself
                                               27 was not novel, its application to NFTs was. Moreover, the Rogers defense itself was
                                                  under an evolving scrutiny during the pendency of this case in light of the Supreme
                                               28 Court’s review and opinion in the Jack Daniels case.

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                                                1 preparation of the Joint Statement” by not actually identifying a single item in
                                                2 dispute. Dkt. 437 at 1. Nonetheless, the objections are misguided and misleading.
                                                3           First, Defendants accuse Fenwick of “overbill[ing]” for its work on this case
                                                4 by misleadingly citing “comparable cases in this district.” Dkt. 435 at 1. What they
                                                5 failed to disclose to the Court is that these “comparable” cases ended in default
                                                6 judgment or were otherwise categorically simpler than this litigation. See Dkt. 435
                                                7 at 8-9 (discussing cases). The fees in those cases of course do not compare to the
                                                8 egregious conduct at issue in this litigation all the way through trial, the stakes of
                                                9 this litigation, and Defendants’ tactical decision to relentlessly and repeatedly fight a
                                               10 losing case. More comparable cases confirm that Yuga Labs’ fees are reasonable for
                                               11 an exceptional Lanham Act case of this magnitude. See Monster Energy Co., No.
                                               12 EDCV 18-1882, 2023 WL 8168854 (awarding $20,972,953.90 in attorneys’ fees in a
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                                               13 case involving Lanham Act claims); SAS., 2015 WL 12763541 (Morrow, J.)
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                                               14 (awarding $4,842,113.16 in case involving Lanham Act claims).
                                               15           Second, Defendants allege that the “‘block bill’ format of Fenwick’s bills
                                               16 warrant a fee reduction. What they further failed to disclose to the Court is that
                                               17 none of the entries are actually “block billed” as the cases use the term. Some
                                               18 courts have found block billing problematic because it is impossible to know how
                                               19 much time was spent on each subtask included in one narrative; but Fenwick’s
                                               20 billing entries that contain multiple tasks (which are only about a quarter of the
                                               21 billing records) are separated by time spent on each task, eliminating any basis for
                                               22 this objection — e.g., “Prepare complaint against Rider Ripps (2.0); factual and
                                               23 legal research in support of same (1.2).” Defendants identify no reason that this
                                               24 style of time entry should warrant a blanket fee reduction.
                                               25           Third, Defendants decry bills for “unrelated” or “duplicate” tasks, summarily
                                               26 claiming that these entries amount to thousands of hours of work. Dkt. 435 at 2.
                                               27 They also complain about travel time, which was often travel to Court or to Court-
                                               28

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                                                1 ordered in-person meet and confers. But by violating the Court’s order, Defendants
                                                                                     8


                                                2 failed to provide any evidence or specifics about these claims. Defendants’ failure
                                                3 to meet their burden of identifying objectionable billing entries, and the resulting
                                                4 lack of opportunity by Yuga Labs to understand and respond to the objections, does
                                                5 not provide a fair basis for reducing Yuga Labs’ fee award. But, if some entries
                                                6 appear to have “duplication, it’s necessary duplication” to dispose of Defendants’
                                                7 meritless re-litigation of the same arguments. Moreno, 534 F.3d at 1112; see
                                                8 Dkt. 431 at 20 (noting “Defendants’ repeated and consistent contempt and disdain
                                                9 for the law and the legal process”); id. at 26 (“Defendants’ repeated attempts to re-
                                               10 litigate issues already addressed and rejected by the Court unnecessarily complicated
                                               11 this litigation . . . .”).
                                               12           B.     Defendants’ Tactics Increased the Cost of Litigation
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                                               13           Defendants point to the significant time and expense Yuga Labs was forced
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                                               14 to devote to discovery in this case as an argument for reducing the fee award. Dkt.
                                               15 435 at 2. Their argument is nonsensical; for instance, Yuga Labs prevailed on
                                               16 nearly every discovery dispute. And yet, Defendants state without explaining that
                                               17 Yuga Labs supposedly added “thousands of hours of work” by asking for sanctions
                                               18 to deter Defendants’ discovery violations. Id.; see also infra Section B.2. Nor do
                                               19 Defendants cite any authority for their position that the Court can or should make
                                               20 line-item deductions for discovery disputes after a prevailing party in an
                                               21 exceptional case is deemed entitled to a fees award.
                                               22           Additionally, the Court already evaluated Defendants’ arguments on this
                                               23 issue and still found this case to be exceptional, in part because Defendants
                                               24 “unnecessarily complicated these proceedings” through their obstructive tactics
                                               25 notwithstanding “the strength of Yuga’s litigating position.” Dkt. 431 at 26. Thus,
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                                               27
                                               28   8
                                                        See Dkts. 226 (ordering in-person meet and confer), 313 (same), 352 (same).
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                                                1 while the Special Master need not re-litigate these discovery issues, Yuga Labs
                                                2 summarily addresses these matters to provide a fuller record of discovery.
                                                3                  1.      Obtaining Defendants’ Compliance in Discovery Was
                                                4                          Expensive
                                                5           The discovery disputes in this case were necessary to obtaining Yuga Labs’
                                                6 resounding victory. Defendants consistently resisted complying with their
                                                7 discovery obligations, forcing Yuga Labs to seek the Court’s assistance in
                                                8 compelling compliance through at least a motion to compel (see Dkt. 79 (granting
                                                9 motion to compel)) and a motion for sanctions that the Court converted to a motion
                                               10 to compel once Defendants admitted to concealing key documents they previously
                                               11 claimed were not in their possession (see Dkt. 145 (converting to, and granting,
                                               12 motion to compel, taking “a dim view of Defendants’ blanket withholding of pre-
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                                               13 litigation communications between Ripps and Cahen . . . .”)).
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                                               14                  2.      Defendants Employed Tactics Calculated to Make Discovery
                                               15                          Burdensome
                                               16           Defendants also filed inappropriate, meritless ex parte discovery
                                               17 applications, requiring Yuga Labs to mobilize additional attorney resources to
                                               18 respond within 24 hours. See Dkt. 144 (withdrawing baseless and procedurally
                                               19 improper ex parte motion to compel, since it was filed with no notice); Dkt. 119
                                               20 (denying ex parte application for order shortening time as unduly delayed); see also
                                               21 Dkt. 215 (denying ex parte application for leave to file sur-reply to motion for
                                               22 summary judgment).
                                               23           As for depositions, Defendants threatened to take 16 depositions, including
                                               24 every founder of Yuga Labs, its CEO, and members of its board. Indeed,
                                               25 Defendants took twice as many depositions as Yuga Labs. Ball Decl. ¶ 38. They
                                               26 even issued deposition subpoenas to celebrities Jimmy Fallon and Paris Hilton,
                                               27 which they then used to promote themselves and their scam on their social media.
                                               28 Ball Decl. ¶ 39. But, Defendants never had any apparent intent to actually depose

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                                                1 Mr. Fallon or Ms. Hilton. These subpoenas and the associated expense were
                                                2 characteristically tactical.
                                                3            During discovery, Yuga Labs also had to prepare its witnesses for
                                                4 inflammatory questions that the Court had already ruled were irrelevant. See
                                                5 Dkt. 87 (denying motion to compel inflammatory materials because request was
                                                6 “moot, irrelevant and not proportionate to the needs of the case”). For example,
                                                7 during a Yuga Labs founder’s deposition, Defendants falsely insinuated that he
                                                8 chose his screenname based on a “film which depicts children engaging in sexual
                                                9 acts with adults.” Atalay Deposition (Dkt. 271) at 157:4-160. In his eagerness to
                                               10 publicly disseminate these baseless accusations, Mr. Cahen violated the protective
                                               11 order by Tweeting that the founder “REFUSES to change his name,” based on the
                                                                                                                  9


                                               12 founder’s response to a question from the ongoing Highly Confidential —
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                                               13 Attorneys’ Eyes Only deposition. See id. (showing testimony and break taken 42
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                                               14 minutes prior to Mr. Cahen’s Tweet). And this was not limited to one witness: these
                                               15 “disgraceful and slanderous statements” made their way into every deposition
                                               16 conducted by defense counsel. Dkt. 431 at 26. The fact that Defendants were
                                               17 seeking discovery into these disgraceful and slanderous statements after the Court
                                               18 had already held they were irrelevant significantly increased the complication and
                                               19 effort, and hence expense, in preparing these witnesses to testify. Ball Decl. ¶ 37.
                                               20            Finally, Defendants have contended that Yuga Labs wrongfully subpoenaed
                                               21 certain witnesses. Defendants have taken issue with the subpoena to Rodney Ripps,
                                               22 Defendant Ripps’ father. But Defendants listed Rodney Ripps as a relevant witness
                                               23 on Defendants’ disclosures and he was a co-owner, with Defendant Ripps, of a
                                               24 company used as an attempt to hide Defendants’ ill-gotten profits at issue in this
                                               25 litigation. Defendants have also complained of the deposition of Ian Garner, an
                                               26 individual relevant to the creation and distribution for their infringing NFTs. Yuga
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                                               28   9
                                                        Ball Decl. Ex. 9 at 2.
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                                                1 Labs rightly questioned the individual who made Defendants’ infringing products
                                                2 and whose salary Defendants argued should be deducted from their scam profits.
                                                3 And, Yuga Labs deposed Jason Cline, a purchaser of the infringing NFTs who
                                                4 worked with Defendants to promote their infringement and who was himself
                                                5 confused as to the source of Defendants’ infringing NFTs. Yuga Labs’ deposition
                                                6 subpoenas all concerned witnesses with evidence supporting its claims; none were
                                                7 unreasonable to pursue.
                                                8                  3.      The Few Discovery Rulings in Defendants’ Favor Do Not
                                                9                          Make Yuga Labs’ Attorneys’ Fees Unreasonable

                                               10           Defendants have repeatedly highlighted (and grossly mischaracterized) the
                                               11 few areas at the margins of discovery in this case where they obtained favorable
                                               12 results. This is a distraction. And a de minimis amount of the fees in this case.
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                                               13 Defendants tried, and failed, to argue to Judge Walter this case was not exceptional
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                                               14 in Yuga Labs’ favor because of these issues. They now appear to argue that
                                               15 although the case was exceptional, Yuga Labs should nonetheless be deprived of its
                                               16 fees on a line-item basis for individual disputes it did not win in full. There is no
                                               17 merit to this argument. “If a plaintiff ultimately wins on a particular claim, she is
                                               18 entitled to all attorney’s fees reasonably expended in pursuing that claim — even
                                               19 though she may have suffered some adverse rulings.” Cabrales v. Cnty. of Los
                                               20 Angeles, 935 F.2d 1050, 1053 (9th Cir. 1991) (awarding attorneys’ fees “even for
                                               21 the unsuccessful stage” to a plaintiff who ultimately achieved a “complete victory”).
                                               22       When Defendants objected to the Special Master reviewing basic materials
                                               23 for background in this matter (such as the complaint and the Court’s findings of fact
                                               24 and conclusions of law awarding fees), they provided a number of cherry-picked
                                               25 docket entries regarding discovery issues in response. The apparent purpose of
                                               26 these materials was to, yet again, rehash discovery disputes instead of engaging
                                               27 with the reasonableness of Yuga Labs’ fees and expenses. Should the Special
                                               28

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                                                1 Master find it necessary to consider Defendants’ discovery submissions, summary
                                                2 context for the orders Defendants reference are as follows:
                                                3           Order Denying Yuga Labs’ Motion for Protective Order (Dkt. 77). The first
                                                4 two depositions Defendants noticed in this litigation were for the company’s
                                                5 co-presidents and co-founders. Yuga Labs contended that Defendants were
                                                6 required under the apex witness doctrine to first seek discovery through less
                                                7 intrusive means, including a Rule 30(b)(6) deposition. The Court disagreed, and
                                                8 Yuga Labs promptly produced both witnesses for deposition. Ball Decl. ¶¶ 35-36.
                                                9           Order re Defendants’ Motion to De-Designate Deposition Testimony
                                               10 (Dkt. 133). Defendants brought a motion to make public the deposition of their
                                               11 business partner, Ryan Hickman. But, as the Court observed, “Defendants, not
                                               12 Yuga, designated the documents discussed at Ryan Hickman’s deposition as highly
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                                               13 confidential (‘HC’) and attorneys’ eyes only (‘AEO’).” Yuga Labs designated the
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                                               14 deposition HC-AEO as required by the protective order until Defendants re-
                                               15 designated their underlying documents. Defendants refused to do so, instead
                                               16 bringing a motion. The Court ordered exactly what Yuga Labs asked from the
                                               17 beginning and ordered “Defendants to reproduce and redesignate the HC/AEO
                                               18 documents discussed at the deposition” before the transcript would be made public.
                                               19           Order Granting Defendants’ Motion to Compel Settlement Materials
                                               20 (Dkt. 159). After rejecting Yuga Labs’ proposal to receive a confidential settlement
                                               21 agreement with Mr. Lehman, Defendants moved to compel both the agreement and
                                               22 settlement communications, arguing that the communications would show that Mr.
                                               23 Lehman was forced to sign a declaration as a condition of settlement (he was not).
                                               24 The Court granted the motion; the settlement communications did not show what
                                               25 Defendants speculated they would, and Defendants never sought to use them for the
                                               26 remainder of the case. Ball Decl. ¶ 34. Here again, had Defendants accepted the
                                               27 pre-motion proposal, they could have avoided unnecessary motion practice and
                                               28 expense.

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                                                1           Yuga Labs was forced to engage in substantial efforts and motion practice to
                                                2 compel Defendants to participate meaningfully in discovery. There is no
                                                3 reasonable basis for throwing out attorneys’ fees spent achieving a victory by
                                                4 parsing out whether fees were warranted for every single discovery dispute. The
                                                5 Special Master should therefore not consider objections made on this basis.
                                                6           C.     Defendants’ Claim of Poverty Is False and Irrelevant
                                                7           Defendants also argued for a reduction in attorneys’ fees because they “lack
                                                8 the ability to pay.” Dkt. 435 at 8. This asserted inability to pay is unsubstantiated
                                                9 by any evidence or declaration. The lack of evidence is unsurprising. As Yuga
                                               10 Labs’ expert observed, Defendants’ freeriding off of Yuga Labs’ brand gave them
                                               11 notoriety that “may have led, or may lead in the future, to additional revenue
                                               12 streams to enrich Defendants, including other NFT sales.” Dkt. 338 ¶ 70. Indeed,
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                                               13 Defendant Cahen’s public statements demonstrate how he has made millions doing
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                                               14 just this with cryptocurrencies and NFTs. Weeks ago, Cahen bragged in a social
                                               15 media post how he gave “a million dollars worth of $pepe [cryptocurrency]” to the
                                               16 creator of the eponymous comic strip character (Ball Decl. Ex. 9 at 3; see also id.
                                               17 At 4), made over a million dollars in 17 hours (id. at 6), and started a project that is
                                               18 “doing 100s of millions of dollars in swap volume” (id.). At other times while this
                                               19 litigation was pending, Cahen announced that he had “purchased 1.1 million
                                               20 dollars” of $pepe (id. at 7, 8); is now “making multiple millions a year doing
                                               21 whatever the fuck I want” (id. at 9); and made $120,000 in a single day from
                                               22 cryptocurrency trading (id. at 11).
                                               23           Defendants also paid their counsel millions of dollars to repeatedly re-litigate
                                               24 rejected issues. Dkt. 431 at 26; Ball Decl. Ex. 9 at 13. Defendants then bragged that
                                               25 they forced Yuga Labs to spend millions to stop their scam. See, e.g., Ball Decl.
                                               26 Ex. 9 at 1 (Defendant Cahen acknowledging that his litigation tactics caused Yuga
                                               27 Labs $20 million in harm); id. at 12 (acknowledging Yuga Labs was spending “10s
                                               28 of millions of dollars” in litigation against Defendants). It would be inequitable for

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                                                1 Defendants’ misconduct to deprive Yuga Labs of fees it spent responding to their
                                                2 tactics and would establish a precedent that undermines the deterrent purpose of
                                                3 awarding fees in exceptional cases.
                                                4 IV.       Yuga Labs’ Costs Are Reasonable
                                                5           Yuga Labs, having obtained an exceptional case ruling, is entitled to the costs
                                                6 that it now seeks. See L.R. 54-3.10(a), (g) (copies, printing, and delivery of courtesy
                                                7 copies), 54-3.2 (research fees in connection with service). Yuga Labs’ request for
                                                8 costs is plainly reasonable. Indeed, Yuga Labs has chosen to forgo certain costs that
                                                9 are routinely awarded, including costs for mediation, hotel stays, trial graphics, and
                                               10 data hosting for discovery. Ball Decl. ¶ 50. Especially in light of the significant
                                               11 precedent supporting an award compensating Yuga Labs’ voluntary deductions,
                                               12 Yuga Labs’ should be awarded all of the remaining costs it now seeks. Id.
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                                               13           While Defendants now attempt to attack the reasonableness of certain costs
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                                               14 accrued in securing Yuga Labs’ victory, “trial courts need not, and indeed should
                                               15 not, become green-eyeshade accountants. The essential goal in shifting fees (to
                                               16 either party) is to do rough justice, not to achieve auditing perfection.” Fox v. Vice,
                                               17 563 U.S. 826, 838 (2011). And the categories of costs that Yuga Labs seeks are
                                               18 routinely granted by courts in this circuit. More specifically, Yuga Labs is entitled
                                               19 to copy costs for “physically replicating or reproducing material necessarily obtained
                                               20 for use in the case” such as documents printed to assist in taking or defending a
                                               21 deposition. L.R. 54-3.10(g); see also Ahanchian v. Xenon Pictures, Inc., No. CV 07-
                                               22 6295-JFW (EX), 2008 WL 11411621, at *3 (C.D. Cal. Dec. 29, 2008) (Walter, J.)
                                               23 (“Properly included in an award of attorneys’ fees are costs and fees for paralegals,
                                               24 out-of-pocket expenses, including travel, telephone, mailing, copying and
                                               25 computerized legal research expenses.”); Ambriz v. Arrow Fin. Servs., No. CV 07-
                                               26 5423-JFW (SSx) 2008 WL 2095617, at *7 (C.D. Cal. May 15, 2008) (Walter, J.)
                                               27 (same).
                                               28           Even non-taxable costs are to be awarded to the prevailing party in cases

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                                                1 where a statute provides for an award of attorneys’ fees. See Grove v. Wells Fargo
                                                2 Fin. Cal., Inc., 606 F.3d 577, 580 (9th Cir. 2010) (“[W]e repeatedly have allowed
                                                3 prevailing plaintiffs to recover non-taxable costs where statutes authorize attorneys’
                                                4 fees awards to prevailing parties.”). Yuga Labs is therefore entitled to “reasonable
                                                5 out-of-pocket litigation expenses that would normally be charged to a fee paying
                                                6 client, even if the court cannot tax these expenses as ‘costs’ under 28 U.S.C.
                                                7 § 1920.” Id. at 581 (citation omitted); Wyatt Tech. Corp. v. Malvern Instruments,
                                                8 Incorp., No. CV 07-8298, 2010 WL 11404472, at *2 (C.D. Cal. June 17, 2010)
                                                9 (awarding non-taxable costs because the Lanham Act’s fee shifting provisions
                                               10 “include recovery of nontaxable expenses if those expenses would normally be
                                               11 charged to the client”); Perfect 10, Inc. v. Giganews, Inc., No. CV 11-07098-AB
                                               12 SHX, 2015 WL 1746484, at *6 (C.D. Cal. Mar. 24, 2015), aff’d, 847 F.3d 657 (9th
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                                               13 Cir. 2017) (“In addition to regular taxable costs, allowable costs under section 505
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                                               14 include costs for service of process, depositions expenses, copying, computer
                                               15 assisted legal research, expert witness fees, and travel costs.”).
                                               16 V.         Defendants Rightfully Do Not Dispute Yuga Labs’ Is Entitled to Its
                                               17            Expert Fees

                                               18            Defendants did not object to, and therefore conceded, the amount owed for
                                               19 expert depositions. See Fed. R. Civ. P. 26(b)(4)(E)(i). Having made the election to
                                               20 depose Yuga Labs’ experts, the Federal Rules are clear that they owe Yuga Labs for
                                               21 fees incurred for the experts’ preparation and attendance of depositions.
                                                                                                                            10


                                               22 VI. Defendants’ Position on Total Fees Is Patently Unreasonable
                                               23            Defendants’ proposed total award of $455,172.24 is arbitrary and inconsistent
                                               24 with the evidence, for the reasons discussed herein. This amount is 3.6% of the
                                               25 attorneys’ fees Yuga Labs actually incurred to litigate this case (and 0% of costs and
                                               26 expert fees). To highlight the absurdity by another measure, the parties and the
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                                               28   10
                                                         Yuga Labs is not seeking fees for any other expert work.
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                                                1 Court agreed in this same case that Defendants would pay $120,000 — 50% of the
                                                2 fees requested by Yuga Labs — as reasonable attorneys’ fees in connection with
                                                3 Yuga Labs successful anti-SLAPP motion and motion to dismiss. Dkts. 227
                                                4 (stipulating to fee award), 228 (accepting parties’ compromise). Defendants now
                                                5 contend that a maximum reasonable award for litigating this entire case through trial
                                                6 is less than four times that amount. In other words, Defendants’ proposed fee award
                                                7 is less than what all parties agree is a reasonable cost for two motions to dismiss.
                                                8 That position is simply not realistic or defensible.
                                                9           To further illustrate how Defendants $455,172.24 all-inclusive award is not a
                                               10 serious position, Yuga Labs’ entire legal team would have had 518 hours to
                                                                                                                         11


                                               11 complete at least the following tasks: (1) Prepare for attend trial; (2) Prepare for and
                                               12 attend 15 depositions; (3) Attend to the entirety of fact and expert discovery and
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                                               13 related motion practice; (4) Successfully oppose Defendants’ anti-SLAPP motion
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                                               14 and Rule 12(b)(6) motion; (5) Successfully oppose Defendants’ three ex parte
                                               15 applications demanding immediate responses; (6) Successfully draft Yuga Labs’
                                               16 motion for summary judgment and reply briefs and prepare the supporting evidence;
                                               17 (7) Successfully oppose Defendants’ motion to stay; (8) Successfully dismiss
                                               18 Defendants’ copyright claims; (9) Draft and oppose motions in limine; (10) Prepare
                                               19 trial exhibits and respond to Defendants’ objections; (11) Draft and oppose pre-trial
                                               20 and post-trial submissions; and (12) Attend to multiple court-ordered, and often
                                               21 in-person meet and confers related to every stage of the litigation.
                                               22           By the time the parties were six months into the case, when the Court denied
                                               23 Defendants’ anti-SLAPP motion and eviscerated their defenses to what should have
                                               24 been straightforward case of infringement, Yuga Labs had already incurred $2.59
                                               25 million in attorneys’ fees (see Dkt. 435 at 9) — more than five times Defendants
                                               26 proposed award for the entire litigation. The writing was on the wall for
                                               27
                                                    Applying a blended rate of Yuga Labs’ total attorneys’ fees divided by total hours
                                                    11
                                               28 billed.

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                                                1 Defendants at that point, and they could have mitigated their exposure by seeking a
                                                2 reasonable resolution of this dispute. But they repeatedly doubled down on the
                                                3 same lost arguments and multiplied the litigation.
                                                4           Defendants’ proposal is an unrealistic view of any litigation, but it is
                                                5 particularly detached from the reality of this lawsuit considering its significance to
                                                6 Yuga Labs’ brand and Defendants’ unrelenting efforts to complicate the litigation.
                                                7 VII. Defendants Should Pay the Special Masters’ Fees
                                                8           Yuga Labs offered Defendants a reasonable compromise that accounted for
                                                9 the value of their objections. Had Defendants accepted that reasonable offer Yuga
                                               10 Labs would not have incurred the additional expense, both in terms of its attorneys’
                                               11 fees and the Special Master’s fees, in proving its entitlement to a fee award in
                                               12 excess of its reasonable $7.5 million compromise. Yuga Labs has not increased its
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                                               13 fee request to account for the substantial work that has gone into litigating its
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                                               14 entitlement to the fees provided by the Court’s findings of fact and conclusions of
                                               15 law, which it is entitled to do. Ball Decl. ¶ 51. In lieu of an increased award of
                                               16 attorneys’ fees, and given Defendants’ unmeritorious positions, it is more than
                                               17 reasonable to order Defendants to pay the full amount of the Special Master’s fees.
                                               18                                             CONCLUSION
                                               19           Based on the foregoing arguments and the record evidence before the Special
                                               20 Master, Yuga Labs respectfully requests an award of $13,202,111.91, consisting of
                                               21 $12,697,150.22 in attorneys’ fees, $409,322.69 in costs, $95,639.00 in expert
                                               22 witness fees, and any Special Master fees.
                                               23
                                                    Dated: December 22, 2023                    FENWICK & WEST LLP
                                               24
                                               25
                                                                                                By: /s/ Eric Ball
                                               26
                                                                                                    Eric Ball
                                               27                                               Attorneys for Plaintiff
                                                                                                YUGA LABS, INC.
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